                Case 24-01211-MBK                                             Doc 5
                                                              Filed 06/13/24 Entered 06/13/24 11:41:28                                                                                                                     Desc Main
                                                    UNITED STATES BANKRUPTCY
                                                              Document     Page 1 of 1 COURT

                                                                           DISTRICT OF NEW JERSEY
In the matter of:
Rite Aid Corporation
                                                                                                         Debtor

Kelly Mangus, Tammy Boswell, Travis
Blakenship, et als
                                                                                                         Plaintiff(s)                                         Case No.                                23-18993
                                                                                                                                                                                                 _________________
v.
                                                                                                                                                              Adversary No.                           24-1211
                                                                                                                                                                                                 _________________
Rite Aid Corporation, Lexington Insurance
Company, National Union Fire Insurance Co. of
Pittsburgh, Pa, et als                                                                                                                                            Michael B. Kaplan
                                                                                                         Defendant(s)-XGJHBBBBBBBBBBBBBBBBB


                                             ALIAS SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                                                       IN AN ADVERSARY PROCEEDING
YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to this summons to the clerk
of the bankruptcy court within 30 days after the date of issuance of this summons, except that the United States and its offices and
agencies shall submit a motion or answer to the complaint within 35 days.

                                              Address of Clerk                                           Clarkson S. Fisher Building & Courthouse
                                                                                                         402 E. State Street, First Floor
                                                                                                         Trenton, NJ 08608


At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s attorney.

                                              Name and Address                                           Javier L. Merino, Dann Law Firm
                                              of Plaintiff’s Attorney                                    1520 U.S. Highway 130, Suite 101, Suite 5, North
                                                                                                         Brunswick, NJ 08902



If you make a motion, your time to answer is governed by Bankruptcy Rule 7012.
YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be held at the
following time and place.

                                              Address             US Bankruptcy Court                                                 Courtroom
                                                                  402 E. State Street                                                 _________________________
                                                                                                                                       8
                                                                  Trenton, NJ 08608
                                                                                                                                      Date and Time
                                                                                                                                       7/15/2024 at 11AM

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO
ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN
AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



                                                                                                                                            Jeanne A Naughton, Clerk

Date: ___________________%y:
               June 13, 2024                                                __________________________
                                                                             MIchelle M. Fogleman
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